Case 1:22-cv-00335-DDD Document 1 Filed 02/04/22 USDC Colorado Page 1 of 26




                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO


                     1:22-cv-00335
Civil Action No.: __________________________
WHITNEY PORTER, M.A.,
         Plaintiff,
v.
THE REGENTS OF THE UNIVERSITY OF COLORADO, a body corporate; and
VENKATESHWAR “VENKAT” REDDY (in his official and individual capacities),
         Defendants.
---------------------------------------------------------------------------------------------------------------------
                      COMPLAINT AND DEMAND FOR TRIAL BY JURY
---------------------------------------------------------------------------------------------------------------------
         Plaintiff, Whitney Porter, by and through her counsel, hereby files this Complaint against

Defendants, THE REGENTS OF THE UNIVERSITY OF COLORADO, a body corporate

(“Defendant Board”); and VENKATESHWAR “VENKAT” REDDY (in his official and

individual capacities) (“Defendant Reddy” and collectively, “Defendants”), and in support thereof,

states and alleges as follows:

                           NATURE OF THE CASE AND THE PARTIES

         1.       This is a civil action for damages and other relief against Defendant Board under

Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e et seq (1964) (“Title

VII”) and against Defendants under the Civil Rights Acts of 1871, 42 U.S.C. § 1983 (“1983”) for

discrimination on the grounds of gender, retaliation and other deleterious terms and conditions of

employment.

         2.       Plaintiff Whitney Porter, M.A. (“Plaintiff”) is a resident of the State of Colorado.


                                                         1
Case 1:22-cv-00335-DDD Document 1 Filed 02/04/22 USDC Colorado Page 2 of 26




       3.      At all times relevant to this Action, Plaintiff was employed by Defendant Board at

the University of Colorado.

       4.      The University of Colorado (“CU”) is a system of public universities in the State

of Colorado consisting of four campuses: University of Colorado Boulder (“CU Boulder”),

University of Colorado, Colorado Springs (“UCCS”), University of Colorado Denver (“CU

Denver”), and the Anschutz Medical Campus (“Anschutz Medical Campus”).

       5.      CU is engaged in the business of higher education and is established and regulated

by Article IX, §§ 12 and 13, Colorado Constitution and State statutory law, and C.R.S. §§ 23-20-

101, et seq. As a public institution, CU is subject to the requirements of the Colorado Constitution,

the United States Constitution, and applicable federal law.

       6.      CU, including UCCS, is operated and governed autonomously by Defendant Board.

       7.      As provided by the state constitution and state law, Defendant Board, duly elected,

constitute a body corporate.

       8.      Defendant Board exercises general supervision of CU and its four campuses,

including UCCS, and, subject to narrow exceptions, it has the exclusive control and direction of

all funds of and appropriations to CU.

       9.      Defendant Board, as CU’s governing body, meets the definition of an “employer”

under the applicable statutes, including Title VII.

       10.     At all times relevant to this Action, Defendant Reddy was either Dean of the UCCS

College of Business or Chancellor of UCCS.

       11.     Defendant Reddy is a male.




                                                  2
Case 1:22-cv-00335-DDD Document 1 Filed 02/04/22 USDC Colorado Page 3 of 26




       12.     During certain times relevant to this Action, Defendant Reddy acted as Plaintiff’s

superior and supervisor and maintained decision-making authority as to Plaintiff’s employment at

CU.

       13.     At all times relevant to this Action, Defendant Reddy has acted under color of law

in performance of his duties as Dean of the UCCS College of Business and subsequently

Chancellor of UCCS and is sued in both his official capacity for equitable relief and his individual

capacity for money damages.

                                    JURISDICTION AND VENUE

       14.     This Court has jurisdiction over this action under 28 U.S.C. §§ 1331 and 1343.

       15.     Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b) because the

employment practices alleged to be unlawful were committed in the District of Colorado.

       16.     Plaintiff has exhausted all administrative prerequisites to the filing of this action.

       17.     This lawsuit was commenced within ninety (90) days of Plaintiff’s receipt of a

Notice of Right to Sue, dated November 8, 2021, from the United States Department of Justice,

Civil Rights Division with respect to Charge of Discrimination No.: 541202101034 filed with the

United States Equal Employment Opportunity Commission (“EEOC”).

                                      FACTUAL ALLEGATIONS

Plaintiff’s appointment at CU

       18.     Plaintiff, a woman, completed her undergraduate studies at UCCS in 2004, and

subsequently obtained a Master of Arts degree in counseling from Adams State University in 2007.

       19.     Plaintiff has worked for Defendant Board since her matriculation from that program

in 2007.




                                                  3
Case 1:22-cv-00335-DDD Document 1 Filed 02/04/22 USDC Colorado Page 4 of 26




        20.     In 2007, Plaintiff was initially employed as an academic advisor at the UCCS

College of Business.

        21.     In 2011, Plaintiff was promoted to senior academic advisor at the UCCS College

of Business.

        22.     In December of 2014, Plaintiff was appointed to the position of Assistant Director

of Graduate Programs in the College of Business for the Graduate School of Business

Administration at UCCS.

        23.     Plaintiff was forced out of her position at the UCCS College of Business in May of

2017 and took a temporary position at the UCCS College of Education in June of 2017.

        24.     In October of 2017, her position as Senior Academic Specialist at the UCCS

College of Education became permanent, and she holds this position to date.

        25.     As a condition of her employment at UCCS, Plaintiff agreed to perform her duties

and responsibilities consistent with her rights and responsibilities as an employee and CU’s

policies and procedures, promulgated by Defendant Board.

        26.     Among the policies and procedures is UCCS’s Discrimination and Harassment

Policy1 (the “Nondiscrimination Policy”) and the Office of Institutional Equity Resolution

Procedures 2 (the “OIE Procedures”, and collectively the “Nondiscrimination Policy and

Procedures”), which set forth a multitude of promises from UCCS to Plaintiff with respect to the

prohibition against workplace discrimination, retaliation, harassment, and hostile work

environment, and specifically the manner in which prohibited conduct must be handled within

UCCS.



1
  The Nondiscrimination Policy may be found at https://vcaf.uccs.edu/sites/g/files/kjihxj1631/files/inline-
files/2021_FEB_15-300-017%20Discrimination%20and%20Harassment%20Policy%20%28APPROVED%29.pdf
2
  The OIE Procedures may be found at https://equity.uccs.edu/

                                                     4
Case 1:22-cv-00335-DDD Document 1 Filed 02/04/22 USDC Colorado Page 5 of 26




       27.     As set forth in the Nondiscrimination Policy, the UCCS claims to foster a climate

that encourages prevention and reporting of protected class discrimination and harassment and

promises to provide prevention efforts and respond to all reports promptly, provide support and

safety measures to address safety, and recognize the inherent dignity of all individuals involved.

       28.     More specifically, by way of this Nondiscrimination Policy and Procedures,

Defendant Board promised, without limitation, as follows:

             a. that UCCS is committed to providing an environment where all individuals can
                achieve their academic and professional aspirations free from unlawful
                discrimination, harassment, and/or related misconduct based on protected class
                status;
             b. that it is critical to this commitment that anyone who believes they may have been
                the target of protected class discrimination or harassment in the context of
                University educational programs, activities, or employment, to feel free to report
                their concerns for appropriate investigation and response, without fear of
                retaliation;
             c. that the UCCS Office of Institutional Equity (OIE) is responsible for the
                administration of this policy, as delegated by the Chancellor;
             d. that additional procedures are available on the OIE website, which include the
                “Office of Institutional Equity Resolution Procedures;
             e. that UCCS prohibits unlawful discrimination and harassment based on protected
                class, and related misconduct. UCCS defines “protected classes” to include the
                following: race, color, national origin, sex, pregnancy, age, disability, creed,
                religion, sexual orientation, gender identity, gender expression, veteran status,
                political affiliation or political philosophy;
             f. that this prohibition applies to all students, faculty, staff, contractors, patients,
                volunteers, affiliated entities, and other third parties;
             g. that any violations may be subject to disciplinary action, up to and including,
                expulsion or termination of employment, as applicable;
             h. that UCCS will consider what appropriate potential actions should be taken;
             i. that this prohibition applies to conduct that occurs in the context of UCCS
                educational programs, activities, or employment;
             j. that UCCS takes prompt and effective steps reasonably calculated to stop
                protected class discrimination and harassment and/or hostile environment, prevent
                its recurrence, and as appropriate, remedy its effects.
             k. that the conduct listed below is prohibited, as are attempts to commit, and aiding,

                                                 5
Case 1:22-cv-00335-DDD Document 1 Filed 02/04/22 USDC Colorado Page 6 of 26




                   abetting, or inciting others to commit them. Prohibited conduct also includes
                   conduct engaged in by electronic means.
                       i. “Discrimination” occurs when an individual suffers an adverse
                          consequence on the basis of a protected class. Examples include, but are
                          not limited to, failure to be hired or promoted or denial of admission to an
                          academic program based on protected class status.
                      ii. “Harassment” means unwelcome verbal or physical conduct related to
                          one’s protected class that unreasonably interferes with an individual’s
                          work or academic performance or creates an intimidating or hostile work
                          or educational environment.
             l. that related misconduct may be further defined by OIE Procedures
             m. that any individual may report incidents of possible protected class discrimination
                or harassment to the OIE;
             n. that Responsible Employees must report any incident of possible Protected Class
                Discrimination and Harassment to the OIE. OIE Procedures defines the term
                “responsible employee” and the information that must be reported.
             o. that when an alleged violation of this policy involves more than one University of
                Colorado campus, the campus with primary disciplinary authority over the
                respondent shall investigate the complaint pursuant to its applicable complaint
                process and procedure. The campus responsible for the investigation may request
                the involvement or cooperation of any other affected campus and should advise
                appropriate officials of the affected campus of the progress and results of the
                investigation;
             p. that reports or complaints pursuant to this policy will be addressed in accordance
                with the OIE’s Procedures, which includes definitions applicable to this policy
                and related misconduct.

       29.     The UCCS Nondiscrimination Policy and Procedures provide that discrimination

occurs when an individual suffers an adverse consequence on the basis of a protected class, which

includes gender.

       30.     The Nondiscrimination Policy and Procedures were and remain consistent with

Defendant Board’s “Regent Law, Article 10”, by which Defendant Board ensures that neither CU

nor its officials will discriminate on the basis of race, color, national origin, pregnancy, sex, age

disability, creed, religion, sexual orientation, gender identity, gender expression, veteran status,




                                                   6
Case 1:22-cv-00335-DDD Document 1 Filed 02/04/22 USDC Colorado Page 7 of 26




political affiliation or political philosophy in admission and access to, and treatment and

employment in, its educational programs and activities.

Defendants efforts to force Plaintiff out of her
employment      through    repeated    acts   of
discrimination and harassment, that of which was
tantamount to a Hostile Work Environment

        31.    During the latter part of Plaintiff’s employment at the UCCS College of Business,

Defendants have threatened to terminate Plaintiff’s employment based upon entirely

unsubstantiated and pretextual grounds, which will be described more fully below.

        32.    In her role, Plaintiff was subjected to the pattern of traumatizing and humiliating

mistreatment engendered by the then-Dean, Defendant Reddy, who is now the Chancellor of

UCCS.

        33.    Under Defendant Reddy’s leadership, Plaintiff was exposed to a sexist and toxic

work environment at the UCCS College of Business, which Defendant Reddy imparted directly or

through his surrogates.

Defendant Reddy’s Actions Demonstrate His
Pretextual and Discriminatory Intentions to Impact
Plaintiff’s Continued Employment

        34.    Defendant Reddy’s discriminatory animus toward Plaintiff was palpable and was

made apparent through various communications between herself and other employees.

        35.    At the direction of then-Dean Defendant Reddy, the Dean’s office monitored

Plaintiff’s arrival and departure times on a daily basis.

        36.    Plaintiff was the only employee monitored in this manner, despite the fact that she

held a management position.

        37.    In fact, a student employee, Brandon Heinz, who worked under Plaintiff’s

supervision, routinely received calls from the Dean’s surrogates at the conclusion of Plaintiff’s

                                                  7
Case 1:22-cv-00335-DDD Document 1 Filed 02/04/22 USDC Colorado Page 8 of 26




workdays, inquiring as to her whereabouts, notwithstanding the fact that she was always in her

office.

          38.   Regularly, Defendant Reddy would send his subordinates to her office at around

8:00 a.m. and 5:00 p.m., respectfully, on pretexts of inquiring about extraneous items, which could

easily have been asked via e-mail. The singular purpose of this exercise was apparent—to

intimidate or harass Plaintiff.

          39.   Despite the fact that other managerial employees would arrive for work much later

than Plaintiff, said employees were never comparably monitored.

Several further instances in which Plaintiff was
harassed and threatened with termination


          40.   In addition, Plaintiff suffers from migraine headaches, but, unlike her colleagues,

could not simply call out sick on the occasion when she suffered from same.

          41.   Instead, she was forced to go to a doctor’s office to verify the migraine and have it

documented, notwithstanding that this would exacerbate the condition.

          42.   Despite the fact that the CU policy requires a medical note for absences of more

than three days, Plaintiff was required to submit a note for a one-day absence.

          43.   Not only did Defendants unlawfully apply different standards for Plaintiff

compared with her colleagues, Plaintiff was told that her failure to comply with this standard would

result in discharge.

          44.   Moreover, upon information and belief, Plaintiff was the only person asked to

provide a medical note in order to take a sick day.

          45.   On one particular occasion in which Plaintiff was violently ill and obtained a

doctor’s note in support of her need to “call out sick”, Defendants inexplicably refused to allow



                                                  8
Case 1:22-cv-00335-DDD Document 1 Filed 02/04/22 USDC Colorado Page 9 of 26




her to stay home, mandated that she come to the office, and advised that if she did not come to

work, she would be terminated.

        46.     Defendants claimed that Plaintiff had no remaining sick days, a statement that was

simple false and conjured to justify their harassing behavior.

        47.     Defendants further demanded that Plaintiff obtain a sick note, without any lawful

justification to do so.

        48.     Significantly, as an exempt employee, Plaintiff was entitled to be paid as long as

she worked one day during a calendar week and Defendants failed to provide any justifiable reason

as to why her sick leave “bank” could not have gone into temporary negative status.

        49.     With no reasonable alternative, and so as to save her job, Plaintiff obliged, obtained

a doctor’s note, and presented to work.

        50.     Defendants mandate that Plaintiff appear at CU while severely ill, and their threat

to terminate her, were rooted in nothing more than Defendants’ discriminatory animus, and were

consistent with their long line of harassing behavior.

        51.     At one point during Plaintiff’s employment with UCCS, the air conditioning system

in Plaintiff’s office building broke in the middle of summer at a time when it was over 90 degrees

inside the building.

        52.     Every affected employee, except for Plaintiff, was permitted to leave the office and

work from home.

        53.     However, Plaintiff was told that she had to remain in the building because she

lacked an adequate set up with which to telecommute for the remainder of the day, despite the fact

that no one inquired as to the status of Plaintiff’s personal computer or internet access.




                                                  9
Case 1:22-cv-00335-DDD Document 1 Filed 02/04/22 USDC Colorado Page 10 of 26




       54.     Contrary to Defendants’ baseless assertion, Plaintiff was completely capable of

working from home and the purpose of this treatment was poignantly clear—to harass and subject

Plaintiff to a hostile work environment.

Defendant Reddy’s Discriminatory Animus
is Further Enforced by His Subordinates.

       55.     As Dean of the College of Business, Defendant Reddy’s supervisory role lent itself

to decision making with respect to the management of the employees within the College of

Business at UCCS.

       56.     In addition to the explicit authority that comes with a supervisory role, there is an

implied authority that would engender Defendant Reddy’s discriminatory intent to be carried out

by his subordinates.

       57.     On one occasion, in mid-February 2016, Plaintiff was forced to remain in her office

and told that she could not leave it until she completed filed documents in accordance with an

archaic, outdated paper system, despite the fact that UCCS moved to a digitalized system.

       58.     This demand was made by Windy Adoretti, a subordinate of Defendant Reddy, who

had previously been the graduate program director.

       59.     Ms. Adoretti insisted that Plaintiff continue working on an outdated paper filing

system, involving color-coded stickers on each file.

       60.     Ms. Adoretti punitively forced Plaintiff to spend hours on this task for no reason

whatsoever in order to undermine and abase Plaintiff, who was made to feel like a prisoner, which

was the precise intent of the order.

       61.     Additionally, although others were permitted to leave work early by shifting their

hours earlier in the day, Plaintiff’s ability to do so was at the whim of her supervisors.




                                                 10
Case 1:22-cv-00335-DDD Document 1 Filed 02/04/22 USDC Colorado Page 11 of 26




       62.     Regularly, Plaintiff would be assigned new work at 4:00 p.m. and told that if she

were committed to the job, she should be willing to work extra hours.

       63.     Plaintiff’s supervisors made it abundantly clear that Plaintiff would be judged for

leaving as scheduled and that her job could be in jeopardy because of this.

       64.     These “11th Hour” assignments were not emergent, were designed to demoralize

Plaintiff, and were punitive in nature.

       65.     Further, the then-undergraduate director, Rashell McCann, would tell students that

Plaintiff was “misadvising” them, an act done to undermine the students’ trust in Plaintiff and

cause rumors to that effect to disseminate.

       66.     Upon information and belief, Plaintiff’s computer was monitored, as it became

apparent that members of UCCS administration had prior knowledge of information that had not

theretofore been shared with them. Plaintiff also discovered odd, inexplicable technical issues,

including delays.

       67.     At the time that Plaintiff’s employment as assistant director began, the department

consisted of six employees including Plaintiff, the director, the admissions coordinator, and three

student employees.

       68.     Thereafter, three others, including the director, quit their jobs because they could

not endure the hostile work environment or were discharged.

       69.     For an extended time period, the remaining student employee and Plaintiff were

forced to do the work of five and the majority of the responsibility fell on Plaintiff’s shoulders.

       70.     Notably, when other UCCS employees were assigned additional responsibilities,

their pay was increased accordingly.




                                                 11
Case 1:22-cv-00335-DDD Document 1 Filed 02/04/22 USDC Colorado Page 12 of 26




       71.      However, Plaintiff’s pay was not, demonstrating yet another example of disparate

treatment and a concerted effort to force Plaintiff out of her job.

       72.      Thereafter, the incoming female director expressed to Plaintiff that there was a

targeted goal of discharging Plaintiff.

       73.      This female director expressed that she too was subject to a toxic work

environment, because both her and Plaintiff were female.

       74.      Like her predecessor, this female director left her job because she had been micro-

managed and degraded by Defendant Reddy and his subordinates.

       75.      Routine decision-making as to student issues within the purview of Plaintiff’s job

were questioned and dismissed on the ground that she lacked authority, experience or the

wherewithal or autonomy to perform basic tasks.

       76.      In egregiously harassing fashion, Plaintiff was also accused of being an alcoholic

and drinking inappropriately and belligerently during a work event, apparently because she

supportively and rightfully cheered on a close colleague as they were called upon to receive an

award. This was by no means reason to accuse Plaintiff of being drunk, and in fact, Plaintiff was

not drunk.

       77.      Significantly, it was Plaintiff’s supervisors who were consuming alcoholic

beverages. Moreover, at least two other colleagues were cheering yet were not disciplined in the

same fashion.

       78.      Plaintiff’s supervisors’ baseless and defamatory accusation, and resulting

discipline, was effectuated intentionally in order to degrade and humiliate Plaintiff, with the hope

that Plaintiff would quit her job.




                                                 12
Case 1:22-cv-00335-DDD Document 1 Filed 02/04/22 USDC Colorado Page 13 of 26




       79.      Of note, that year, Plaintiff was voted best advisor on campus, yet her performance

on the job was unimportant and conflicted with Defendants’ intent to discredit and remove her.

       80.      Prejudice is rarely an overt act, however, in this case, Defendants were blatantly

discriminatory in their conduct toward Plaintiff. Their actions demonstrate the inequitable, unjust,

and discriminatory practice of dismissing and undervaluing Plaintiff’s contributions as a woman.

Plaintiff’s Complaint to the Human Resources Department and subsequent retaliatory conduct

       81.      Plaintiff sought the counsel of the human resources department on numerous

occassions, which not only failed to address her complaints but, in fact, caused superiors to escalate

their aggression toward her.

       82.      In fact, when Plaintiff attempted to file grievances with the human resources

department, no corrective action was taken. Instead, Plaintiff was advised that she should leave

her position at the UCCS College of Business and begin working for a different college within

CU.

       83.      In 2017, Plaintiff was pressured into resigning from her position at the UCCS

College of Business. It became obvious that the goal of Defendant Reddy, effectuated by both

him and his subordinates, was to harass and remove employees from their jobs if they did not quit

on their own.

       84.      Given the toxic, hostile, and harassing work environment, precipitated by

Defendant Reddy’s discriminatory and retaliatory animus, Plaintiff was ultimately left with no

choice but to resign from the College of Business, a position that she had held for a decade.

       85.      Due to positive employee relations on campus, Plaintiff secured a position with the

UCCS College of Education in a temporary capacity, which led to a permanent position in October

of 2017.



                                                 13
Case 1:22-cv-00335-DDD Document 1 Filed 02/04/22 USDC Colorado Page 14 of 26




       86.      However, this new position was not a leadership track position, unlike her former

position at the UCCS College of Business.

       87.      Upon starting her new position in the UCCS College of Education, it became clear

to Plaintiff that the UCCS College of Business was reading and sending emails from Plaintiff’s

UCCS email account, which was both a staff and student email account.

       88.      When Plaintiff asked Ms. Adoretti of the UCCS College of Business to stop using

her email account, she was told that the email was being used to communicate with College of

Business students and that it was Plaintiff’s responsibility to work with the Office of Information

Technology (OIT) to get a new email account.

       89.      However, upon reporting this to the Dean of the College of Education and OIT,

Plaintiff learned that the College of Business should never have been able to use the Plaintiff’s

email account as it was a student email account at the time as well as a personal email account and

that Plaintiff was able to keep her email account.

       90.      The College of Business and Ms. Adoretti were ultimately removed, but within that

time frame prior to removal, they had access to all of Plaintiff’s business and personal email on

that account.

Retaliation

       91.      Because Plaintiff had objected to the way she was treated, UCCS began a campaign

in order to get her to quit her job or to discharge her on pretextual grounds.

       92.      Defendants made numerous obvious attempts to shift Plaintiff’s expectations,

duties, requirements, and responsibilities after she had lodged complaints with HR.

       93.      For example, prior to 2016, Plaintiff had never received an unsatisfactory annual

work evaluation and, in fact, had been praised for her work performance. Indeed, no one other



                                                 14
Case 1:22-cv-00335-DDD Document 1 Filed 02/04/22 USDC Colorado Page 15 of 26




than Defendant Reddy and his associates had ever taken issue with Plaintiff, neither personally nor

professionally.

       94.        Plaintiff was an effective assistant director and supervisor, as evidenced by, among

other things, her annual performance reviews.

       95.        Despite the hostility and abuse to which she was subjected, Plaintiff always did her

best to maintain a positive attitude and complete any and all assigned responsibilities and to go

beyond the effort that was required.

       96.        For the first time, in an annual performance evaluation for the 2016 academic year,

Plaintiff received a “below expectations” rating and was provided with a personal improvement

plan to follow between February 7, 2017 and May 7, 2017.

       97.        It was made clear to Plaintiff that, if she failed to meet these performance

expectations, she would be terminated at the conclusion of this probationary period.

       98.        When Plaintiff inquired how and why her performance did not meet expectations,

she was informed that she did not “fit the business culture.”

       99.        Upon requesting specific examples, Plaintiff was provided with information in

direct contradiction of that given in the immediately preceding academic year. For example, she

was reprimanded for having her door closed for three weeks during which she focused on the

commencement of the semester and census week tasks because the university had an “open-door

policy” that should be followed. However, during the prior performance evaluation, she was

advised to shut the door when performing these tasks to reduce interruptions.

       100.       Furthermore, Plaintiff had numerous one-on-one meetings with her supervisor

throughout the 2016 academic year in which no behavioral or substantive performance issues were




                                                   15
Case 1:22-cv-00335-DDD Document 1 Filed 02/04/22 USDC Colorado Page 16 of 26




ever brought to her attention. In fact, in 2016, Plaintiff was nominated for the “Advisor of the

Year” award.

        101.    Despite Plaintiff’s compliance with the performance improvement program, the

hostile work environment continued. Examples included, as stated above, being locked in her

office and required to work manually for tasks that could undoubtedly have been performed on a

computer more easily and efficiently, being directed to obtain medical notes for sick days, and

being explicitly told that she was prohibited from volunteering for various tasks.

Retaliation in Denial of a Better Position at UCCS

        102.    The pattern of ongoing discrimination, harassment, and hostility continued beyond

Plaintiff’s forced resignation from the UCCS College of Business.

        103.    In 2019, Plaintiff applied for, was offered, and accepted a job as Graduation and

Academic Services Coordinator in the Office of the Registrar, with a proposed salary of $52,000.

        104.    As of December 2019, Plaintiff was merely awaiting final correspondence and she

was scheduled to begin work in January 2020.

        105.    However, all positions with salaries of $50,000 and more required the Chancellor’s

signature as his micromanagement extended down to that level.

        106.    Consistent with his discriminatory and retaliatory animus, Defendant Reddy, who

had taken over as UCCS Chancellor at the time, refused to sign off on the letter, which would

finalize Plaintiff’s position.

        107.    Defendant Reddy’s refusal to sign her final offer letter was in retaliation for her

earlier HR complaints made during Defendant Reddy’s tenure as Dean of the School of Business,

which resulted in consequence of his own harassment of Plaintiff and the hostile work environment

engendered under his supervision.



                                                16
Case 1:22-cv-00335-DDD Document 1 Filed 02/04/22 USDC Colorado Page 17 of 26




          108.    Plaintiff did not receive an explanatory letter, but was ultimately informed that she

was not given the position because her salary would have increased from $49,500 to $52,000.

          109.    Notably, many administrators at UCCS earn far in excess of this amount, making

that explanation entirely disingenuous.

          110.    During the summer of 2020, the same job position was reposted and Plaintiff

applied for the second time.

          111.    Plaintiff was interviewed, but then informed that she lacked the requisite experience

to move forward as a candidate.

          112.    Plaintiff sent emails to the ethics and compliance officers to inquire how she could

not be qualified for a position that had been offered to her the preceding year, yet received no reply

to the inquiry.

          113.    Plaintiff also called the human resources department, only to be informed that other

candidates were more experienced.

          114.    As a result, purely based on retaliatory grounds, Plaintiff was denied an opportunity

for which she was most certainly qualified. To the extent that any positions involving upward

mobility at the UCCS would involve a salary in excess of $50,000, Defendant Reddy had

personally blocked her professional development.

          115.    In fact, Plaintiff is aware that comparably-situated colleagues who do not hold

Master’s degrees earn more than $70,000 per year.

          116.    In a leadership position, Plaintiff would be earning much more than her current

salary.

          117.    As such, Defendant Reddy’s retaliatory acts deprived her of the opportunity to

advance and are the basis for her career stagnation.



                                                   17
Case 1:22-cv-00335-DDD Document 1 Filed 02/04/22 USDC Colorado Page 18 of 26




       118.    The most recent correspondence that Plaintiff has received from human resources

indicated that she was not selected for further consideration was dated November 10, 2020.

       119.    In effect, Defendant Reddy has personally blocked Plaintiff’s professional

development. Comparably situated colleagues who do not hold Master’s degrees earn more than

$70,000 per year. Defendant Reddy’s retaliatory acts have deprived Plaintiff of the opportunity to

advance and is the basis for her career stagnation.

Plaintiff Filed a Charge of Discrimination
With the EEOC

       120.    On February 9, 2021, Plaintiff filed Charge of Discrimination No.: 541202101034

with the EEOC, in which she alleged that Defendants had discriminated against her based on her

gender and had retaliated against her in violation of Title VII.

       121.    On November 8, 2021, the United States Department of Justice issued Plaintiff a

Notice of Right to Sue with respect to the Charge of Discrimination.

Defendant Reddy’s Unethical And Discriminatory Behavior
Toward Others Is Consistent With His Behavior Toward Plaintiff

       122.    Unfortunately, Defendant Reddy’s discriminatory and retaliatory animus is not

isolated, as he has humiliated, bullied, harassed, and intimated other former female CU employees,

similar to the conduct undertaken towards Plaintiff.

       123.    Defendant Reddy’s calculated pattern of behavior has had far-reaching detrimental

influence on many individuals and has deprived others’ from their career advancement.

       124.    Defendant Reddy’s conduct exemplifies one who cannot tolerate the career

advancement of a creative women, and his disparate treatment towards women is apparent.




                                                 18
Case 1:22-cv-00335-DDD Document 1 Filed 02/04/22 USDC Colorado Page 19 of 26




                                    STATEMENT OF CLAIMS

                               FIRST CLAIM FOR RELIEF
 (Discrimination and Hostile Work Environment in Violation of Title VII of the Civil Rights Act)
          125.   Plaintiff incorporates the allegations in paragraphs 1 through 124 as if fully set forth

herein.

          126.   Plaintiff, as a woman, is a member of the class of persons protected from

discrimination on the basis of gender under Title VII.

          127.   Defendant Board, by and through its agents, and Defendant Reddy, as an individual,

intentionally engaged in unlawful employment practices against Plaintiff because she is a woman.

          128.   Defendant Board, by and through its agents, and Defendant Reddy, as an individual,

discriminated against Plaintiff in connection with the terms, conditions and privileges of

employment in violation of 42 U.S.C. § 2000e(2)(a). The effect of these practices has been to

deprive Plaintiff of equal employment opportunities and otherwise adversely affect her status

because of her gender.

          129.   Defendants’ unlawful employment practices had a disparate and adverse impact on

Plaintiff because of her gender.

          130.   Plaintiff was subjected to a hostile work environment based upon membership in

protected classes and suffered disparate treatment as a consequence thereof.

          131.   Defendants retaliated against Plaintiff because of her membership in protected

classes, resulting in her separation from employment on pretextual grounds.

          132.   Defendants are responsible and liable for the acts and omissions of its agents and

employees. Defendant Board, by and through its agents, and Defendant Reddy, as an individual,

have discriminated and retaliated against Plaintiff on the basis of gender.




                                                   19
Case 1:22-cv-00335-DDD Document 1 Filed 02/04/22 USDC Colorado Page 20 of 26




          133.   As a consequence of Defendants’ conduct, Plaintiff has suffered damages and

losses.

          134.   Defendants’ conduct was engaged in with malice or with reckless indifference to

Plaintiff’s federally protected rights within the meaning of Title VII.

                                  SECOND CLAIM FOR RELIEF
          (Retaliation in Violation of Title VII of the Civil Rights Act of 1964, as amended)

          135.   Plaintiff incorporates the allegations in paragraphs 1 through 134 as if fully set forth

herein.

          136.   Plaintiff opposed practices targeted at herself that were unlawful under Title VII,

including discrimination based on gender.

          137.   As a result of Plaintiff’s protected opposition to discrimination and the hostile work

environment engendered and perpetuated by Defendants, Defendants retaliated against her by

subjecting her to different terms and conditions of employment as described in this Complaint,

including, but not limited to, treating Plaintiff in a condescending matter, questioning her

achievements, crediting accusations made against Plaintiff that lacked basis, accusing Plaintiff of

unprofessional conduct, failing to thoroughly and properly investigate or otherwise address

Plaintiff’s complaints about discrimination, making disparaging comments about Plaintiff to

others, and ultimately forcing Plaintiff to resign from her position, that of which was tantamount

to constructive termination.

          138.   Defendants’ conduct violated 42 U.S.C. § 2000e-3(a) of Title VII.

          139.   As a direct and proximate result of Defendants’ actions, Plaintiff has suffered

damages, including lost wages and benefits, diminished reputation, and other pecuniary losses,

and emotional pain and suffering, mental anguish, inconvenience, loss of the enjoyment of life,

and other non-pecuniary losses.

                                                   20
Case 1:22-cv-00335-DDD Document 1 Filed 02/04/22 USDC Colorado Page 21 of 26




          140.   Defendants unlawful conduct was willful, malicious, oppressive, and/or reckless,

and was of such a nature that punitive damages should be imposed, as legally permissible.

                                  THIRD CLAIM FOR RELIEF
          (Fourteenth Amendment Due Process Deprivations Under 42 U.S.C. § 1983)


          141.   Plaintiff incorporates the allegations in paragraphs 1 through 140 as if fully set forth

herein.

          142.   Based on the foregoing acts and omissions, Defendants, acting under color of state

law, have violated the Due Process Clause of the Fourteenth Amendment as made actionable

through 42 U.S.C. §1983.

          143.   As a result of Defendants’ actions, Plaintiff has sustained substantial economic

losses, including, but not limited to, salary, bonuses, pensions and other monetary benefits as well

as emotional harm and psychological trauma.

          144.   Plaintiff has thereby been damaged in an amount yet to be determined.

          145.   Defendants unlawful conduct was willful, malicious, oppressive, and/or reckless,

and was of such a nature that punitive damages should be imposed, as legally permissible.

                                 FOURTH CLAIM FOR RELIEF
          (Fourteenth Amendment Equal Protection Deprivations Under 42 U.S.C. § 1983)
                                         Against Defendants

          146.   Plaintiff incorporates the allegations in paragraphs 1 through 145 as if fully set forth

herein.

          147.   Based on the foregoing acts and omissions, Defendants, acting under color of state

law, have violated the Equal Protection Clause of the Fourteenth Amendment as made actionable

through 42 U.S.C. §1983.




                                                   21
Case 1:22-cv-00335-DDD Document 1 Filed 02/04/22 USDC Colorado Page 22 of 26




          148.   As a result of Defendants’ actions, Plaintiff has sustained substantial economic

losses, including, but not limited to, salary, bonuses, pensions and other monetary benefits as well

as emotional harm and psychological trauma.

          149.   Plaintiff has thereby been damaged in an amount yet to be determined.

          150.   Defendants unlawful conduct was willful, malicious, oppressive, and/or reckless,

and was of such a nature that punitive damages should be imposed, as legally permissible.

                                  FIFTH CLAIM FOR RELIEF
                       (First Amendment Retaliation Under 42 U.S.C. § 1983)
                              Against Defendants Board and Krohnfeldt

          151.   Plaintiff incorporates the allegations in paragraphs 1 through 150 as if fully set forth

herein.

          152.   Defendants violated Plaintiff’s rights protected by the First Amendment by

retaliating against her for engaging in protected speech.

          153.   By acting under color of state law to deprive Plaintiff of her constitutional rights,

Defendants violated 42 U.S.C. § 1983.

          154.   As a result of Defendants actions, Plaintiff has suffered the loss of wages, benefits,

and other monetary benefits as well as emotional harm and psychological trauma.

          155.   Defendants unlawful conduct was willful, malicious, oppressive, and/or reckless,

and was of such a nature that punitive damages should be imposed, as legally permissible.

                                      PRAYER FOR RELIEF

          WHEREFORE, Plaintiff, Whitney Porter, respectfully requests that this Court enter

judgment in her favor and against Defendants Board and Reddy, and order the following relief

against them, respectively, to the extent provided by law:




                                                   22
Case 1:22-cv-00335-DDD Document 1 Filed 02/04/22 USDC Colorado Page 23 of 26




       A.        Compensatory damages including, but not limited to, those for emotional distress,

                 inconvenience, mental anguish and loss of enjoyment of life;

       B.        Back pay and benefits;

       C.        Injunctive and declaratory relief;

       D.        Front pay and benefits;

       E.        Attorneys’ fees and costs of this action, including expert witness fees, as

                 appropriate;

       F.        Pre-judgment and post-judgment interest at the highest lawful rate; and

       G.        Such further relief as justice requires or the law allows.



       FURTHERMORE, Plaintiff specifically prays that Defendants be enjoined for failing or

refusing to:

       (1)       Provide sufficient remedial relief to make Plaintiff whole for the losses she has

                 suffered as a consequence of the discrimination and retaliation against her as

                 alleged in this Complaint, including restoring Plaintiff to her position as Assistant

                 Director of Graduate Programs at the College of Business and Administration and

                 Graduate School of Business Administration at UCCS; and

       (2)       Take such other appropriate non-discriminatory measures to overcome the effects

                 of the discrimination and retaliation.

PLAINTIFF DEMANDS TRIAL BY JURY ON ALL ISSUES SO TRIABLE.




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                                                   23
Case 1:22-cv-00335-DDD Document 1 Filed 02/04/22 USDC Colorado Page 24 of 26




Respectfully submitted: February 4, 2022.

                                    By:     KATZ AND KERN, LLP


                                            _____________________________
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                                              24
Case 1:22-cv-00335-DDD Document 1 Filed 02/04/22 USDC Colorado Page 25 of 26




                         CERTIFICATION OF GOOD STANDING

I hereby certify that I am a member in good standing of the Bar of this Court.



                                             _____________________________
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                                             Denver, Colorado 80206
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                                             Attorneys for Plaintiff Whitney Porter, M.A.




                                                25
Case 1:22-cv-00335-DDD Document 1 Filed 02/04/22 USDC Colorado Page 26 of 26




                              CERTIFICATE OF SERVICE

      I certify that on February 4, 2022, I filed the foregoing with the Clerk of the Court using

the CM/ECF System.

                                           _____________________________
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                                              26
